






NO. 07-07-0117-CV
	


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 8, 2007



______________________________




LEE Y. COCKRELL, GUARDIAN OF THE PERSON AND ESTATE OF

 ALICE B. INGRUM GRAY, AN INCAPACITATED PERSON, APPELLANT


V.



GENE O. "BUDDY" COCKRELL, APPELLEE


_________________________________



FROM THE 31ST DISTRICT COURT OF GRAY COUNTY;



NO. 33,395-A; HONORABLE STEVEN R. EMMERT, JUDGE



_______________________________




Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION


	Pending before this Court is Appellant's Motion to Dismiss in which, Lee Y. Cockrell,
Guardian of the Person and Estate of Alice B. Ingrum Gray, an Incapacitated Person,
represents that pursuant to a settlement agreement, he no longer wishes to pursue this
appeal.  Cockrell also represents that all disputes between the parties have been settled
and requests dismissal with prejudice.  

	Without passing on the merits of the case, pursuant to Rule 42.1(a)(1) of the Texas
Rules of Appellate Procedure, we grant the motion and dismiss the appeal with prejudice. 
Having dismissed the appeal at Cockrell's request, no motion for rehearing will be
entertained and our mandate will issue forthwith.


							Patrick A. Pirtle

							      Justice




